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UNITED STATES DISTRICT COURT FOR THE

SOUTHERN DISTRICT OF WEST VIRGINIA] | SEP 1 7 2019
CHARLESTON GRAND JURY 2019 .
SEPTEMBER 17, 2019 SESSION

 

RORY L. PERRY !!, CLERK
U.S. District Court

 

UNITED STATES OF AMERICA

Vv. criminan no. 2/9 -Co 235
18 U.S.C. § 1347

 

JULIE M. WHEELER

INDICTMENT

(Healthcare Fraud)

The Grand Jury Charges:
Background

At all relevant times herein:

1. The United States Department of Veterans Affairs (“VA”)
was a department and independent federal agency of the executive
branch of the United States Government.

2. The VA provided health care benefits to certain Korea
and Vietnam Veterans’ birth children diagnosed with spina bifida
through the Veterans Health Administration (“VHA”) under the Spina
Bifida Health Care Benefits Program, a healthcare benefit program
within the meaning of Title 18, United States Code Section 24(b).

3. The Spina Bifida Health Care Benefits Program paid for
home health services, including home health aide services and
homemaking services, for beneficiaries of the program.

4, The Veterans Health Administration Office of Community

Care (“OCC”) located in Denver, Colorado, managed the Spina Bifida

Southern District of West Virginia .
Health Care Benefits Program, including authorization of benefits
and the subsequent processing and payment of health care claims.

5. A person known to the Grand Jury, K.L., also known as
K.W. (“K.L.”) was a recipient of spina bifida health care benefits
through the VA’s Spina Bifida Health Care Benefits Program.

6. Defendant JULIE M. WHEELER was the owner and operator of
JRW Homecare Support Services (“JRW HSS”). The VA employed
defendant JULIE M. WHEELER to provide benefits and services to
K.L. associated with K.L.’s needs associated with spina bifida.

The Scheme to Defraud

 

7, Defendant JULIE M. WHEELER knowingly and willfully
executed and attempted to execute a scheme to defraud and to
obtain, by means of materially false and fraudulent pretenses,
representations, and promises, money owned by and under the custody
and control of a healthcare benefit program.

Manner and Means for Carrying Out the Scheme to Defraud

 

8. To execute her scheme, defendant JULIE M. WHEELER
inflated her hours and days of services provided to K.L. on health
insurance claim forms that she completed and submitted to OCC
knowing that she did not provide the hours and days of services
claimed.

9. In furtherance of her scheme, JULIE M. WHEELER’S

submissions to OCC included the following:
a. On or about January 1, 2017, defendant JULIE M. WHEELER
submitted health insurance claim forms to Occ
fraudulently representing that she provided eight hours
of home health services, seven days a week for K.L. every
day from October 1, 2016 through December 31, 2016, when,
in fact, she had not provided K.L. such services eight
hours a day, seven days a week.

b. On or about April 3, 2017, defendant JULIE M. WHEELER
submitted health insurance claim forms to Occ
fraudulently representing that she performed eight hours
of daily home health services, seven days a week for
K.L. every day from March 9, 2017 through April 1, 2017,
when, in fact, she had not provided K.L. such services
eight hours a day, seven days a week.

c. On or about July 2, 2017, defendant JULIE M. WHEELER
submitted health insurance claim forms to Occ
fraudulently representing that she provided eight hours
of home health services, seven days a week for K.L. every
day from April 21, 2017 through June 30, 2017, when, in
fact, she had not provided K.L. such services eight hours
a day, seven days a week.

10. Upon receipt of these and similar fraudulent submissions

to OCC, the VA authorized payments under the Spina Bifida Health
Care Benefits Program. Payment was then issued from the Department
of the Treasury to defendant JULIE M. WHEELER through JRW HSS.

11. As a result of her scheme to defraud, from June 30, 2017
through May 31, 2018, defendant JULIE M. WHEELER received
approximately $469,983 from a health care benefit program.

12. From in or about October 2016, through in or about April
2018, at or near Oak Hill, Fayette County, West Virginia, and
within the Southern District of West Virginia and elsewhere,
defendant JULIE M. WHEELER knowingly and willfully executed and
attempted to execute the above-described scheme and artifice to
defraud and obtain, by means of materially false and fraudulent
pretenses, representations, and promises, money owned by and under
the custody and control of the VA Spina Bifida Health Care Benefits
Program, a health care benefit program, in connection with the
delivery of or payment for health care benefits, items, and
services.

In violation of Title 18, United States Code, Section 1347.
NOTICE OF FORFEITURE

 

The allegations contained in this Indictment are incorporated
by reference. Notice is hereby given of 18 U.S.C. § 982(a)(7), and
28 U.S.C. § 2461 (c). Under Section 2461(c), criminal forfeiture is
applicable to any offenses for which forfeiture is authorized by
any other statute, including but not limited to 18 U.S.C.
§S 982(a) (7). The following property is subject to forfeiture in
accordance with 18 U.S.C. § 982(a) (7) and/or 28 U.S.C. § 2461(c):

a. All property, real or personal, which constitutes or is

derived from proceeds of the violation set forth in this
indictment; and
b. If, as set forth in 21 U.S.C. § 853(p), any property
described in (a) cannot be located upon the exercise of
due diligence, has been transferred or sold to, or
deposited with, a third party, has been placed beyond
the jurisdiction of the court, has been substantially
diminished in value, or has been commingled with other
property which cannot be divided without difficulty, all
other property of the defendant/s to the extent of the
value of the property described in (a).

The following property is subject to forfeiture on one or

more of the grounds stated above:
a. A forfeiture money judgment in the amount of at least
$469,983, such amount constituting the proceeds of the
violation set forth in this indictment.

All pursuant to 18 U.S.C. § 982(a) (7) and 28 U.S.C. § 2461(c).

MICHAEL B. STUART
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ERIK S. GOES
Assistant United States Attorney

 
